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          EXHIBIT A
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Juan Pablo Gonzalez
T: +1 650 843 5095
jgonzalez@cooley.com


September 25, 2024                                                                                    Via E-Mail

Joseph Saveri Law Firm, LLP
601 California Street, Suite 1505
San Francisco, California 94108

Cafferty Clobes Meriwether & Sprengel LLP
135 S. LaSalle Street, Suite 3210
Chicago, Illinois 60603

DiCello Levitt LLP
4747 Executive Drive, Second Floor
San Diego, California 92121

Matthew Butterick
1920 Hillhurst Avenue, #406
Los Angeles, California 90027

Re:     Kadrey et al v. Meta Platforms, Inc., Case No.: 3:23-cv-03417-VC
        Plaintiffs’ Privilege Logs

Counsel:

Please provide your availability to meet and confer regarding widespread deficiencies found across the
privilege logs served by the Joseph Saveri Law Firm and Cafferty Clobes on August 21, 2024, and
September 20, 2024, respectively, and Ms. TerKeurst’s ongoing failure to serve any privilege log at all.

As Plaintiffs' counsel is undoubtedly aware, the Federal Rules require that when a party withholds
information otherwise discoverable on the basis of privilege, it must sufficiently describe the information so
as to "enable other parties to assess" the claimed privilege or protection. (Fed. R. Civ. Pro. 26(b)(5)). In the
Ninth Circuit, a party meets this burden by providing a privilege log that identifies “(a) the attorney and client
involved, (b) the nature of the document, (c) all persons or entities shown on the document to have received
or sent the document, (d) all persons or entities known to have been furnished the document or informed
of its substance, and (e) the date the document was generated, prepared, or dated.” In re Grand Jury
Investigation, 974 F.2d 1068, 1071 (9th Cir. 1992) (citing Dole v. Milonas, 889 F.2d 885, 888 n.3 (9th Cir.
1989)). Across the two privilege logs thus far disclosed, Plaintiffs failed to adequately meet at least
requirements (a)-(d).

As an initial matter, Plaintiffs' privilege logs contain boilerplate descriptions throughout. In fact, every single
one of Plaintiffs' 195 entries across both privilege logs refers to "pending legal proceedings and legal
issues," and the same typographical error is found across 175 entries in Cafferty Clobes' privilege log
("pending legal proceeding and legal issues related therin [sic]"), which indicates that these descriptions
were not bespoke or otherwise individually prepared. We ask that you confirm that you have reviewed each
document reflected in Plaintiffs' privilege log and provide sufficient descriptions of each document so that
Meta may assess Plaintiffs’ claims of privilege.




                                 Cooley LLP 3175 Hanover Street Palo Alto, CA 94304-1130
                                      t: +1 650 843 5000 f: +1 650 849 7400 cooley.com
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Second, there are several instances within the Cafferty Clobes privilege log that fail to identify any attorney
or group of attorneys (e.g., entries corresponding to Bates/Control Numbers: #708242.1; #708253.1;
#708271.1; #708271.1; #708284.1; #708718.1; SNYDER000067; SNYDER000069-91). Thus, on its face,
and in view of the deficient descriptions, we cannot ascertain why there is a privilege claim. Therefore, for
each entry, please explain the basis for the claimed privilege and identify the attorney or group of attorneys
who provided the allegedly protected legal advice.

Third, there are at least several instances where Plaintiffs appear to lack a basis to assert any claimed
privilege altogether. For example, #708271.1 describes an instance where Mr. David Hwang is
communicating with a third party, Mr. “Kevin Y.,” who does not appear to be an agent or employee of either
Mr. Hwang or his attorneys. Why was this withheld on privilege grounds? Even if Mr. Hwang's
communication "reflected" legal advice, which is not apparent from the description, his disclosure to a third
party like Mr. “Y.” would waive attorney client privilege. Please provide Plaintiffs' basis for withholding this
document. As another example, LIPPMAN004564 is an email chain forwarded by Ms. Tayari Jones to
Ms. Laura Lippman. Ms. Jones appears to be a third party who is not an agent or employee of either
Ms. Lippman or her attorneys, and her forwarding of the redacted email to Ms. Lippman constitutes a waiver
of the claimed privilege. Please provide Plaintiffs' basis for redacting this document.

Fourth, there are a number of unidentified third parties listed throughout the Cafferty Clobes privilege log
that do not readily present as employees or agents of either Plaintiffs or their respective counsel (e.g.,
<bblanco@peyalex.com>;             <octavia@maceolyn.com.;            <cfoley@penguinrandomhouse.com>;
<julia@watkinsloomis.com>). We observe that Plaintiffs are not claiming these documents were withheld
on the basis of the common interest doctrine. Without additional information, we are unable to assess the
extent to which disclosure to these third parties waived any claimed privilege. Without more, that conclusion
seems likely. Please provide information sufficient to explain why the disclosure to such third parties is not
a waiver of the claimed privilege.

Fifth, we note that across both sets of privilege logs there are only 14 documents (all in the Cafferty Clobes
privilege log) dated in 2023. Please confirm that this constitutes the entire body of 2023 documents for
which Plaintiffs claim a basis for withholding. To the extent there are additional responsive documents from
2023 that are being withheld, please provide an explanation regarding Plaintiffs' failure to account for these
or confirm your intention to waive any privilege or protection as to these documents.

Sixth, the earliest entries in the Saveri privilege log (for Mr. Golden and Ms. Silverman) begin in February
2024. This suggests that there were no privileged communications between those plaintiffs and any
attorneys or others with whom they are claiming common interest prior to that date. However, we know
this is not the case, as Mr. Golden, for example, testified that he had written communications with his
attorney both before retaining the Saveri and Butterick firms in 2023, and leading up and through the filing
of the Complaint. Given that Mr. Golden testified that he reviewed the Complaint, it appears unlikely that
there was not a single privileged communication prior to 2024. Please correct the log and ensure it
captures all documents that the Saveri Plaintiffs (Golden, Kadrey, and Silverman) are withholding on the
basis of privilege.

Finally, relevant to counsel to Ms. TerKeurst, we note – again – that she has failed to timely serve a privilege
log and failed to do so before her deposition.

We reserve all rights in connection with Plaintiffs’ late and deficient logs.




                                Cooley LLP 3175 Hanover Street Palo Alto, CA 94304-1130
                                     t: +1 650 843 5000 f: +1 650 849 7400 cooley.com
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Thank you,



Juan Pablo Gonzalez




                       Cooley LLP 3175 Hanover Street Palo Alto, CA 94304-1130
                            t: +1 650 843 5000 f: +1 650 849 7400 cooley.com
